Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Pageiof21 Page ID#:1

AO 91 (Rey. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20) O Original CO Duplicate Original
soees UNITED STATES DISTRICTCOURT FILED
CLERK, U.S. DISTRICT COURT
06/04/2025 for the | June 4, 2025

CENTRAL DISTRICT OF CALIFORNA 2 ‘

BY: DVE_——_DePUTY Central District of California CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION AT SANTA ANA

BY ° c

United States of America Deputy Clerk, U.S. District Court

Vis
DANIEL JONGYON PARK, Case No. 5:25-mj-00400-DUTY

Defendant

CRIMINAL COMPLAINT BY TELEPHONE
OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
Beginning on an unknown date and continuing through at least May 17, 2025, in the county of Riverside and
elsewhere in the Central District of California, the defendant violated:

Code Section Offense Description

18 U.S.C. § 2339A Providing and Attempting to Provide Material
Support to Terrorists

This criminal complaint is based on these facts:
Please see attached affidavit.

Continued on the attached sheet.

/s/ Andrew R. Bland, IV

Complainant’s signature

Andrew R. Bland, IV, FBI Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by tele

Date: June 4, 2025 ae r
Judge’s signature
. Santa Ana, oo, /
City and state: KesxXnwelest California Hon. Douglas F. McCormick, U.S. Magistrate Judge

Printed name and title

AUSAs: S. Gerdes (x4699) and A. Boylan (x2170)

Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page2of21 Page ID#:2

AFFIDAVIT
I, Andrew R. Bland, IV, being duly sworn, declare and state
as follows:

I. PURPOSE OF AFFIDAVIT

Tis This affidavit is made in support of a criminal
complaint and arrest warrant against Daniel Jongyon Park
(“PARK”) for a violation of 18 U.S.C. § 2339A: Providing and
Attempting to Provide Material Support to Terrorists.1!

Ba The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint and
arrest warrant and does not purport to set forth all of my
knowledge of or investigation into this matter. Unless
specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance
and part only.

II. BACKGROUND OF AFFIANT

Be I am a Special Agent with the Federal Bureau of
Investigation (“FBI”) and have been so employed since April of
2021. Prior to working for the FBI, I worked as a State Trooper

with the Texas Department of Public Safety from September of

1 Title 18, United States Code, Section 2339A, makes it
unlawful to provide or attempt to provide material support or
resources, knowing or intending that they are to be used in
preparation for, or in carrying out, a violation of certain
specified offenses, including Title 18, United States Code,
Section 2332a (Use of a Weapon of Mass Destruction).
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page3of21 Page ID#:3

2016 through March of 2021. I am currently assigned to the
FBI’s Los Angeles Field Office, Riverside Resident Agency, Joint
Terrorism Task Force, where I investigate, among other things,
people who commit violent criminal acts in furtherance of their
political or social ideology, and investigate threats associated
with the use of firearms, chemical, biological, radiological,
nuclear, and explosive materials. As a Special Agent, I have
received both formal and informal training from the FBI
regarding domestic and foreign terrorism investigations.

Through my training and experience, I am familiar with the
methods of operation that individuals associated with domestic
and foreign terrorist organizations employ to communicate with
associates regarding their ideology, to organize actions on
behalf of their organizations, and to bring attention to their
political and social agendas. As an FBI Special Agent, I have
also participated in the execution of multiple arrest and search
warrants, including warrants executed in cases involving
domestic terrorism and threats.

III. SUMMARY OF PROBABLE CAUSE

4. Guy Edward Bartkus (“BARTKUS”) drove a car containing
an explosive device to a fertility clinic in Palm Springs,
California, on May 17, 2025. BARTKUS detonated the bomb,
resulting in BARTKUS’s death, injuries to numerous victims, the
destruction of the fertility clinic’s building, and damage to
surrounding buildings and areas. BARTKUS’s attack was motivated

by his pro-mortalism, anti-natalism, and anti-pro-life ideology,
Case 5:25-mj-00400-DUTY Document1 Filed 06/04/25 Page4of21 Page ID#:4

which is the belief that individuals should not be born without
their consent and that non-existence is best.

5. Daniel Jongyon Park (“PARK”), who shares BARTKUS’s
pro-mortalism, anti-natalism, and anti-pro-life ideology,
shipped approximately 180 pounds of ammonium nitrate, which is
an explosive precursor, to BARTKUS in January 2025. In May
2025, PARK purchased an additional 90 pounds of ammonium nitrate
that was shipped to BARTKUS days before the Palm Springs
bombing.

Gs Following the bombing, federal agents executed search
warrants at PARK’s residence in Kent, Washington. Inside,
agents found explosive precursor chemicals and multiple recipes
for explosives, including recipes for explosive mixtures
containing ammonium nitrate and fuel. Specifically, one of the
recipes that law enforcement found at PARK’s house was a recipe
for ammonium nitrate and nitromethane (a fuel) -- the same
explosive mixture that was used to cause the truck explosion in
the 1995 Oklahoma City bombing.

7. As detailed below, in January 2025, PARK shipped
approximately 180 pounds of ammcnium nitrate to BARTKUS.
Shortly thereafter, PARK traveled to BARTKUS’s house in
Twentynine Palms, California, where he stayed for approximately
two weeks. Three days before PARK arrived at BARTKUS’s house,
BARTKUS researched how to make powerful explosions using
ammonium nitrate and fuel. Acccrding to BARTKUS’s family
members, during PARK’s stay with BARTKUS, PARK and BARTKUS were

“running experiments” in BARTKUS’s detached garage. After the
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page5of21 Page ID#:5

bombing, FBI recovered large quantities of chemical precursors
and laboratory equipment in the detached garage.

8. Four days after BARTKUS conducted the suicide bombing,
PARK left the United States for Europe. On May 30, 2025, PARK
was detained in Poland and later ordered deported to the United
States. On the evening of June 3, 2025, PARK was arrested by
FBI special agents shortly after his flight from Poland arrived
at JFK International Airport.

IV. STATEMENT OF PROBABLE CAUSE

9. Based on my review of law enforcement reports and
evidence, conversations with other law enforcement agents, and
my own knowledge of the investigation, I am aware of the
following:

A. BARTKUS Bombed a Fertility Clinic on May 17, 2025

10. On May 17, 2025, BARTKUS drove a car containing an
explosive device to a fertility clinic? in Palm Springs,
California. The explosive device detonated, resulting in
BARTKUS’s death, injuries to numerous victims that required
hospital treatment, the destruction of the fertility clinic’s
building, and damage to surrounding buildings and areas. The
blast was so powerful that it resulted in human remains being
flung as far as the rooftop of a hotel a block away from the

blast site and shattered windows on buildings on the blocks

2 Based on my review of the fertility clinic’s public
website, which includes information about financing treatments,
utilizing insurance, and service advertisements, the fertility
clinic is an operation involved in interstate and/or foreign
commerce,
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page6éof21 Page ID #:6

surrounding the fertility clinic. Near the exploded car, law
enforcement found a weapon that appeared to be an AR-style
firearm with spent shell casings on the ground.

11. Law enforcement recovered a cellphone that BARTKUS had
set up to record the bombing. Based on a search of that
cellphone pursuant to a federal search warrant, it contained an
image that showed the car BARTKUS used the day of the bombing
parked outside of the fertility clinic prior to the bombing.
This image on the phone was labeled with “Promortalism” on the
lower left side of the image.

12. Based on records obtained from a domain registrar, I
know BARTKUS created a website called promortalism.com. Based
on my review of promortalism.com, records obtained from a known
website host (“Website Host 1”), and a witness tip
(“Witness 1”), BARTKUS posted on the site an audio-recorded
manifesto, a countdown to the bombing, and a video of the
suicide bombing.

a. In his online manifesto, BARTKUS acknowledged
that by bombing the fertility clinic, he was “causing
destruction and probably possibly death.” BARTKUS explained
that a pro-mortalist seeks to “make the death thing happen
sooner rather than later in life.” BARTKUS discussed why he
bombed a fertility clinic, explaining, “IVF is like kinda the
epitome of pro-life ideology so see fuck IVF, fuck IVF clinics.”

b. The video recording of the bombing captured

BARTKUS talking to the camera, going into the car backed up to
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page 7of21 Page ID#:7

the fertility clinic, remaining in the car for about thirty
minutes, and finally, the explosion of the clinic.

13. The FBI laboratory provided a preliminary analysis
that the explosive device used in the bombing of the fertility
clinic on May 17, 2025, meets the definition of a “destructive
device,” as defined. in 18 U.8.f.. § 921 and 26 U.S.C. S S845(2).

B. PARK Held the Same Extremist Ideological Views that

Motivated BARTKUS to Bomb the Fertility Clinic

14. During an interview with the FBI, one of PARK’s family
members stated that PARK, who is now in his early 30s, has made
statements consistent with pro-mortalism ideology as far back as
high school. Records from a social media platform (“Social
Media Provider 1”) show that, as far back as 2016, an account
registered to a known email address for PARK made multiple
comments in forums titled “promortalism” and “antinatalism” -
the same ideology that motivated BARTKUS to bomb the fertility
elinic.

15. In a March 2025 public post on Social Media
Provider 1’s platform, PARK posted: “Any Antinatalists or
adjacent around WA state or PNW USA?” The post continued, “I
wanna [sic] join a local group so we can start some protests or
just any in-person events. Or if there isn’t one yet, I can
make [Encrypted Messaging Application 1] chat or a [Social Media

Platform 23] server? Considering our position, I like the extra

3 Based on my training and experience, Encrypted Messaging
Application 1 and Social Media Platform 2 are an application and
platform, respectively, that are commonly used by individuals

(footnote cont’d on next page)
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page 8of21 Page ID#:8

security of [Encrypted Messaging Application 1], but I
understand if most people prefer [Social Media Platform 2].”
(Emphasis added.) On this post, the text “You deserve eternal
rest” appeared next to PARK’s Social Media Platform 1 username.
Based on my knowledge about Social Media Platform 1, this
appears to be either a message that PARK added to his profile or
a badge that PARK earned to display next to his profile based on
engagement on the forum.

16. During an interview with one of BARTKUS’s family
members on May 18, 2025, he/she stated that BARTKUS planned to
“protest” and asked to use his/her car on Friday, May 16, 2025,
but since he/she needed the car for work, he/she encouraged
BARTKUS to go the following day, Saturday, May 17, 2025, to
which BARTKUS agreed. When BARTKUS took his family member’s car
to blow up the fertility clinic on May 17, 2025, he told his
family member that he was going out for a “protest.”

17. Based on law enforcement review of posts on Social
Media Platform 1, I know PARK posted the following:

a. In 2016, PARK made a post titled, “Anyone else
chose to live as sacrificing yourself for the sake of preventing
more suffering?” The content of the post discussed anti-
natalism as a positive and emphasized pushing the concept to
others. The post started with, “I would’ve been dead by now if
it weren’t for the fact that everyone else is suffering too.”

Later, the post stated, “When people are lost and distraught,

who seek to evade law enforcement detection due to their
encrypted nature and other security features.

5
Case 5:25-mj-00400-DUTY Documenti1 Filed 06/04/25 Page9of21 Page ID#:9

death is always an option.” (Emphasis added.) The post ended
with, “You just have to talk to one person, not people. Anyway,
I just think we can do more than you think you can.”

b. In 2016, PARK responded to the following
question: “What have you actually done to not have children? An
abortion, a vasectomy?” PARK responded, “I think a better
question is what did you do to make other people not have
children. I don’t think I did much. Dunno what I can do about
other people. I just try to mention it when people seem like
they’ re willing to listen.” (Emphasis added.)

Cs In April 2025, PARK posted “Yes” in response to
the question: “If you had the technology to wipe out a tribe of
people on an isolated island and no one would know about it
after the tribe’s life was gone, would you press the button to
end their suffering and speed up the process of extinction of
life on Earth?”

Cs PARK and BARTKUS Conducted “Experiments” Inside

BARTKUS’s Garage, Where Law Enforcement Later Found a
Significant Quantity of Bomb-Making Materials

18. During a search at BARTKUS’s house on May 18, 2025,
pursuant to a federal warrant, the FBI found large quantities of
precursor chemicals and completed explosive mixtures for
explosive devices and laboratory equipment in the detached

garage.* From BARTKUS’s bedroom, the FBI recovered a voltmeter,

4 Based on a preliminary laboratory analysis, some of these
precursor chemicals include nitric acid and aluminum powder, and
completed explosive mixtures include erythritol tetranitrate
( YETN” ) =
Case 5:25-mj-00400-DUTY Documenti_ Filed 06/04/25 Page 10of21 Page ID #:10

a soldering station, two 3D printers, pre-made electronic
components, various circuitry components, ceramic ball bearings,
and cellphones that were in various stages of disassembly.

19. Based on witness interviews, financial records, and
rental car documents, I know that PARK traveled to BARTKUS’s
residence and stayed with BARTKUS and his family from
approximately January 25, 2025 to February 8, 2025. Based on
interviews with BARTKUS’s family members, PARK concealed his
identity while staying with BARTKUS and his family by pretending
that his name was “Steve.”®5

20. The text messages between BARTKUS’s family members
described that “Steve” (PARK) and BARTKUS were in BARTKUS’s room
as well as the detached garage “running experiments.” This
detached garage was the same garage where law enforcement
located significant amounts of precursor chemicals and completed
explosive mixtures commonly used in the construction of homemade
explosive devices.

21. BARTKUS’s family member also told the FBI that PARK
wore a gold-colored jacket during his stay at BARTKUS’s house.
PARK’s family member told the FBI that when PARK returned to his
residence in Washington, he had burned his jacket. During a
search of PARK’s house pursuant to a search warrant, law

enforcement recovered PARK’s burnt gold-colored jacket.

° Although BARTKUS’s family knew PARK as “Steve,” BARTKUS’s
family members later identified “Steve” as PARK.

9
Case 5:25-mj-00400-DUTY Documenti1 Filed 06/04/25 Page11of21 Page ID#:11

D. Between June 2024 and May 2025, PARK Sent BARTKUS
Large Amounts of Ammonium Nitrate, Including
Purchasing Two Orders Days Before BARTKUS Committed
the Suicide Attack

22. During the search of BARTKUS’s house on May 18, 2025,
the FBI found two white packages addressed to “Anya Folger” in
the detached garage. One of the packages had a sticker on it
that listed PARK’s family member’s name and PARK’s home address.
The two white packages addressed to “Anya Folger” appear to be
approximately the same size, and both packages had raw brown
cardboard on the package where it appeared some of the white
cardboard had been torn or removed in some fashion. The
shipping labels on both “Anya Folger” packages stated that the
weight for each package was approximately 45 pounds.

23. The return entity listed on the labels of the packages
shipped to “Anya Folger” was a company in Washington state
(“Company 1”). On PARK’s public-facing LinkedIn page, Company 1
is listed as PARK’s employer from 2021 to present.

Additionally, PARK’s bank records showed that PARK received
direct deposits from Company 1. PARK’s family member told the
FBI that PARK worked at Company 1 in its shipping department.
FBI interviews conducted at Company 1 confirmed PARK’s
employment.

24. When both “Anya Folger” packages were found in
BARTKUS’s detached garage, they were empty and near two other
white boxes that were approximately the same size and that were
open, empty, and marked with a company logo and the labeling

‘“outlawXstore.com” (the “‘Outlaw’ boxes”). Based on FBI agents’

10
Case 5:25-mj-00400-DUTY Documenti1 Filed 06/04/25 Page12o0f21 Page ID#:12

visual inspection of these boxes, it appeared that the cardboard
that was removed from the “Anya Folger” packages was in
approximately the same location where the “outlawXstore.com”
branding appeared on the “Outlaw” boxes. The shipping labels
for the “Outlaw” boxes stated that the weight of each package
was approximately 47 pounds.

25. During a search of BARTKUS’s house on May 29, 2025,
FBI seized a white box and a brown box, both with the shipping
label addressed to “Anya Folger” and with PARK’s employer
(Company 1) as the sender. The white box had similar cardboard
removed as the previously seized boxes.

26. Shipping records showed that four packages were
shipped in January 2025 to BARTKUS’s house addressed to “Anya
Folger.” The shipping records also showed that these four
packages had the same dimensions (13 inches x 13 inches x
13 inches) and a weight of 45 pounds. The records listed
Company 1 (PARK’s employer) as the sender. Labels for these
four packages were created on January 15, 2025. The four
packages arrived at BARTKUS’s house on January 21, 2025,
January 22, 2025 (two of the packages), and January 29, 2025 --
right before and during the time when PARK stayed with BARTKUS

at BARTKUS’s house. ®

6 During an interview, PARK’s family member (who also works
for Company 1) explained that he/she helped PARK re-ship the
packages to a friend in California. The family member
specifically recalled sending packages to persons named “Guy”
and “Anya Folger.” The family member explained that PARK had
access to Company 1’s shipping label system, and during the
search of PARK’s house, the family member showed the FBI how to
access the shipping label system. BARTKUS’s family member also
told the FBI that PARK sent BARTKUS packages.

11
Case 5:25-mj-00400-DUTY Document1 Filed 06/04/25 Page13o0f21 Page ID#:13

27. Based on records from Carolina Chemical, on
February 8, 2025, a customer listed as “Guy Bartkus” attempted
to purchase chemical material -- specifically, Acetic Anhydride’
ACS Reagent -- using a known debit card for PARK (“PARK Debit
Card 1"). This transaction was declined. Approximately one
minute later, another transaction to purchase Acetic Anhydride
ACS Reagent was attempted, but ultimately declined, by a user
named “Dan Park” using PARK Debit Card 1. Approximately two
minutes later, “Dan Park” attempted a third transaction to
purchase Acetic Anhydride ACS Reagent using PARK Debit Card 1,
which was accepted for $63.19. The shipping information within
the receipt for this purchase was addressed to “Dan Park” at
BARTKUS’s address.

28. Records from www.outlawxstore.com, which redirects to
www.ammoniumnitrateforsale.com (“WEBSITE 1”),® show that PARK
made six separate purchases totaling 275 pounds of ammonium
nitrate between October 2022 and May 2025:

a. PARK purchased 50 pounds of ammonium nitrate on
October 25, 2022, with the name “Daniel Park”; an old known
address for PARK; a known email address for PARK (“PARK
Email 1”); and a known phone number for PARK (“PARK Phone Number

5 ;

7 Based on information from bomb technicians working on this
investigation, this chemical is not commonly used in the
development of homemade explosive devices.

8 Based on FBI’s review, WEBSITE 1 is an online retail store
that primarily markets the sale of ammonium nitrate for its use
in the construction of exploding targets, and based on my
training and experience, I know that ammonium nitrate is a
chemical that can be used in explosive mixtures.

12
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page14of21 Page ID#:14

b. PARK purchased 45 pounds of ammonium nitrate on
February 4, 2024, using PARK Debit Card 1, with the name “Da”;
PARK’s home address; PARK Email 1; and PARK Phone Number 1.

Ge PARK purchased 45 pounds of ammonium nitrate on
June 26, 2024, using PARK Debit Card 1, with the name “Dan
Park”; PARK’s home address; PARK Email 1; and PARK Phone
Number 1.

as PARK purchased 45 pounds of ammonium nitrate on
December 26, 2024, using PARK Debit Card 1; PARK’s family
member’s name; a slight misspelling of PARK’s home address; and
PARK Phone Number 1.

e. On May 6, 2025, eleven days before the bombing,
PARK paid for two orders, each for 45 pounds of ammonium
nitrate, from WEBSITE 1 using the name “Guy Barktus” (a
misspelling of BARTKUS’s name). A debit card in PARK’s name
(“PARK Debit Card 2”) was used to purchase this ammonium nitrate
for a total price of $126.44 each. Records from an email
provider (“Email Provider 1”), show that PARK Email 1 received
two emails dated May 9, 2025, from an e-commerce email address
that listed the “reply-to” address as outlawxstore@gmail.com.

29. According to shipping records, on May 6, 2025, the

same date as the ammonium nitrate orders, a shipment from Duda
Energy LLC was sent to “Guy Bartkus” at BARTKUS’s address.
According to open-source records, Duda Energy LLC’s website is
https://www.dudadiesel.com/ and is described as “DudaDiesel -

Biodiesel, Chemical & Solar Supplies, Alternative Energy Store.”

13
Case 5:25-mj-00400-DUTY Document1 Filed 06/04/25 Page15o0f21 Page ID#:15

Based on my training and experience, I know ammonium nitrate and
diesel fuel can be combined to create an explosive.

30. Based on information provided by agents with the
Bureau of Alcohol, Tobacco, and Firearms and Explosives, neither
PARK nor BARTKUS has any firearms or destructive devices
registered to them within the National Firearms Registration and
Transfer Record.

E. BARTKUS Searched for Information About Explosives and

Ammonium Nitrate Days Before PARK Visited BARTKUS and
After PARK Purchased Ammonium Nitrate

31. On the phone that BARTKUS set up across from the
fertility clinic to capture the bombing on May 17, 2025, the FBI
saw a series of chats on an artificial intelligence (“AI”)
search engine and chat application (“AI Chat Application 1”).
Included in these chats were questions to AI Chat Application 1
about explosives, diesel, gasoline mixtures, and detonation
velocity.

32. For example, on January 22, 2025, approximately three
days before PARK visited BARTKUS, BARTKUS asked AI Chat
Application 1 the following:

a. “So, when making ANFO® by mixing ammonium nitrate
and diesel, would it be a good idea to fractionally distill the

diesel and test the different components and see which one

° Based on open-source information and my training and
experience, ANFO stands for Ammonium Nitrate/Fuel Oil. It isa
widely used industrial explosive, typically composed of 94%
ammonium nitrate and 6% fuel oil, often diesel. The ammonium
nitrate acts as an oxidizer, while the fuel oil provides the
combustion source.

14
Case 5:25-mj-00400-DUTY Documenti1 Filed 06/04/25 Page16of21 Page ID#:16

produces a higher detonation velocity,1!° or are there too many
different components?”

b. The chat also included the additional following
chats and responses:

1s BARTKUS: “Well, to counter a few of your

points, for example, point number two that you made, it’s known
that certain types of fuels, when mixed with ammonium nitrate,
can produce very significantly varying results in terms of
detonation velocity. For example, hydrazine. And to counter
your other point about there being too many different
hydrocarbons, theoretically, you could separate it out into
maybe five different component ranges based on boiling points
and test those and see if any one of them is better than just
diesel on its own, right?”

ii. AI Chat Application 1 Response: “You make an

excellent point, and I agree that exploring fractions of diesel
for optimization could theoretically yield meaningful insights
into ANFO performance. .. .”

33. Based on my review of these chats and information from
FBI bomb technicians, these chats discuss determinations about
what make-up of an explosive mixture using ammonium nitrate,
diesel fuel, and other components results in the most powerful

blast (i.e., highest detonation velocity).

10 Based on information from bomb technicians, a higher
detonation velocity results in a more powerful blast.

15.
Case 5:25-mj-00400-DUTY Document1 Filed 06/04/25 Page17of21 Page ID#:17

F. PARK Communicated with BARTKUS Using Encrypted
Messaging Application 1 that Was Set to Auto-Delete as
of January 22, 2025

34. Based on FBI’s review of BARTKUS’s phone set up to
record the bombing, the phone contained Encrypted Messaging
Application 1. Encrypted Messaging Application 1 on the phone
had only two chats open. One of those chats was with an account
with the display name “DanPark.” Based on the FBI’s review of
this chat and agents’ understanding of Encrypted Messaging
Application 1, this chat was set to auto-delete as of
January 22, 2025, which is days before PARK’s arrival at
BARTKUS’s house. In March 2025, PARK wrote on Social Media
Platform 1 that Social Media Platform 1 was his preferred
application to chat with other pro-mortalists because he
“like[d] the extra security” of it.

G. PARK Possessed Explosive Precursors and Explosive

Recipes in His Bedroom

35. During the search of PARK’s house on May 31, 2025,
pursuant to a federal search warrant, FBI agents recovered
multiple explosive precursors from PARK’s room. For example,
FBI agents recovered 945 grams of ammonium nitrate. Based on
information from FBI bomb technicians, the ammonium nitrate that
they recovered stood out because it was no longer prilled, i.e.,
it was ground down to a powder. According to FBI bomb
technicians, to have a functional explosive device with powdered
ammonium nitrate, it would have to be combined with a solid
fuel. FBI agents also recovered solid fuels from PARK’s room,

in addition to laboratory equipment in PARK’s closet. PARK’s

16
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page18o0f21 Page ID#:18

family members told the FBI that PARK was interested in
chemistry.

36. Inside PARK’s room, agents also recovered hand-written
notes of chemical explosive equations. Some of these equations
included explosive mixture recipes using ammonium nitrate and
fuel. One of the recipes was for ammonium nitrate and
nitromethane (a fuel), the same explosive mixture that was used
to cause the truck explosion in the 1995 Oklahoma City bombing.
The document also contained the recipe for pentaerythritol
tetranitrate (“PETN”), which based on my training and experience
and conversations with FBI bomb technicians, I know to be a high
explosive. PETN has similarities to ETN, which was found at
BARTKUS’s house. During an interview, Witness 1 explained that
BARTKUS expressed an interest in PETN.

37. During a search of PARK’s car pursuant to a federal
warrant, FBI agents recovered a firearm, specifically, an
unregistered Glock 19.

H. Preliminary Laboratory Testing is Consistent with

Ammonium Nitrate Having Been Used to Create the
Destructive Device Used to Bomb the Fertility Clinic

38. Preliminary analysis from the FBI’s laboratory showed
that items analyzed from the blast site contain, among other
ions, nitrate ions. These nitrate ions could indicate the use
of a nitrate-based oxidizer, such as potassium nitrate or
ammonium nitrate. The ions identified could also be inherent to

the material submitted or the collection environment.

17
Case 5:25-mj-00400-DUTY Documenti- Filed 06/04/25 Page19o0f21 Page ID#:19

39. Therefore, based on my communications with law
enforcement agents, the items analyzed from the blast are
consistent with, though do not conclusively establish, ammonium
nitrate having been used as an oxidizer for the explosive
mixture in the May 17 bombing of the fertility clinic.

Ba PARK and BARTKUS Have Visited Each Other Previously,
and PARK Has Transferred Money to BARTKUS

40. BARTKUS’s family member told law enforcement that PARK
had visited BARTKUS another time during the summer of 2023 or
2024. Bank records show that a debit card in PARK’s name and
home address made a series of purchases in the areas of Palm
Springs and Twentynine Palms (where BARTKUS lives) in late July
2024. Based on these facts, I believe PARK visited BARTKUS in
Southern California in July 2024. PARK’s family member told the
FBI that he/she believed BARTKUS had visited PARK in Washington
previously, but that BARTKUS did not stay with the family.

41. Bank records show that between December 2024 and
February 2025, PARK sent three payments using PayPal to BARTKUS
totaling $858.10, with the most recent payment on February 10,
2025.

42. BARTKUS’s family member told the FBI that PARK
deposited money into BARTKUS’s bank account and explained that
he/she saw two to three transactions for approximately $100 USD
each in BARTKUS’s bank account from PARK. BARTKUS told the
family member that the transactions were payments for him doing
work for “Steve.” The transactions occurred approximately one

month after PARK stayed with BARTKUS in early 2025.

18
Case 5:25-mj-00400-DUTY Documenti Filed 06/04/25 Page 20o0f 21 Page ID #:20

J. PARK Boarded an International Flight Shortly After the
Bombing

43. On May 20, 2025, two days after the bombing, ABC News
published an article that outlined the Palm Springs Police
Chief’s public statements to the media, including that “others
may have known [the] suspect was planning [the] explosion” and
“people with knowledge of the situation could face charges from
the FBI.” This article described FBI agents “combing through
the suspect’s home” in Southern California and further explained
that law enforcement is “trying to determine a motive and figure
out how Bartkus was able to get his hands on so many
explosives.”

44. Based on travel records, PARK flew to Warsaw, Poland
via Copenhagen, Denmark on May 21, 2025.

45. Based on information from foreign law enforcement,
PARK was detained in Poland by Polish authorities on May 30,
2025, and was ordered deported by Polish authorities on June 2,
2025. Based on information from foreign law enforcement, PARK
attempted to harm himself after Polish authorities made contact
with him.

46. PARK arrived at JFK International Airport in New York
on a flight from Poland at approximately 8:00 P.M. EST on
June 3, 2025. Shortly after his arrival, he was arrested by FBI
special agents at the airport.

V. CONCLUSION

47. For all of the reasons described above, there is

probable cause to believe that FARK has committed a violation of

19
Case 5:25-mj-00400-DUTY Document1 Filed 06/04/25 Page 21of21 Page ID#:21

18 U.S.C. § 2339A: Providing and Attempting to Provide Material

Support to Terrorists.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 4th day of June

yon D

HON. DOUGLAS F. MCCORMICK
UNITED STATES MAGISTRATE JUDGE

20
